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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 TONCA WATTERS, et al.,                            )
                                                   )
                             Plaintiffs,           )
                                                   )
                        v.                         )       No. 1:18-cv-00270-MPB-JMS
                                                   )
 HOMEOWNERS ASSOCIATION AT THE                     )
 PRESERVE AT BRIDGEWATER, et al.,                  )
                                                   )
                             Defendants.           )



                                     SCHEDULING ORDER

        The above case is hereby assigned for a TELEPHONIC STATUS CONFERENCE on

 NOVEMBER 2, 2022 at 10:30 a.m., Indianapolis time (EDT), before the Honorable Matthew P.

 Brookman, United States Magistrate Judge. The information needed by counsel to

 participate in this telephonic conference will be provided by a separate notification.

        SO ORDERED.

 Dated: October 5, 2022




 Served electronically on all ECF-registered counsel of record.
